 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

MORTON & CRAIG, LLC
110 Marter Avenue, Suite 301
Moorestown, NJ 08057 (856)866-0100
Attorney for: Ford Motor Credit Company LLC
JM-5630
File Number: 49269
 In Re:                                                Case No.:                   17-36011
                                                                             ____________________

John P. Conklin                                        Adv. No.:             ____________________
Melissa A. Conklin
                                                       Hearing Date:               8-6-2019
                                                                             ____________________

                                                       Judge:                        KCF
                                                                             ____________________




                                 CERTIFICATION OF SERVICE

1.        I, ____________________________
                 John R. Morton, Jr., Esq. :

           represent the _____________________
                                 Creditor       in the above-captioned matter.

           am the secretary/paralegal for ____________________, who represents the
          _______________ in the above captioned matter.

           am the ______________________ in the above case and am representing myself.



2.        On _______________________
                    7-10-2019        , I sent a copy of the following pleadings and/or documents to the
          parties listed in the chart below:

          Notice of motion, proposed order, certification and certification of service.




3.        I hereby certify under penalty of perjury that the above documents were sent using the mode of
          service indicated.



       7-10-2019
Dated: _______________________                          __________________________________
                                                        /s/John R. Morton, Jr., Esq.
                                                        Signature
 Name and Address of Party Served      Relationship of                 Mode of Service
                                      Party to the Case

John and Melissa Conklin                                    Hand-delivered
63 Guilford Place                                           Regular mail
Burlington, NJ 08016
                                                            Certified mail/RR
                                             Debtor         E-mail
                                                            Notice of Electronic Filing (NEF)
                                                            Other ______________________
                                                             (as authorized by the court *)

Brad J. Sadek, Esq.                                         Hand-delivered
1315 Walnut Street                                          Regular mail
Suite 502
Philadelphia, PA 19107                                      Certified mail/RR
                                    Attorney for the Debtor  E-mail
                                                            Notice of Electronic Filing (NEF)
                                                            Other ______________________
                                                             (as authorized by the court *)

Albert Russo                                                Hand-delivered
Standing Chapter 13 Trustee                                 Regular mail
CN 4853
Trenton, NJ 08650-4853                                      Certified mail/RR
                                             Trustee        E-mail
                                                            Notice of Electronic Filing (NEF)
                                                            Other ______________________
                                                             (as authorized by the court *)

U.S. Trustee, US Dept of Justice                            Hand-delivered
Office of the US Trustee                                    Regular mail
One Newark Center, Suite 2100
Newark, NJ 07102                                            Certified mail/RR
                                                            E-mail
                                                            Notice of Electronic Filing (NEF)
                                             Trustee
                                                            Other ______________________
                                                             (as authorized by the court *)




                                         2
Name and Address of Party Served    Relationship of               Mode of Service
                                   Party to the Case
                                                        Hand-delivered
                                                        Regular mail
                                                        Certified mail/RR
                                                        E-mail
                                                        Notice of Electronic Filing (NEF)
                                                        Other ______________________
                                                         (as authorized by the court *)

                                                        Hand-delivered
                                                        Regular mail
                                                        Certified mail/RR
                                                        E-mail
                                                        Notice of Electronic Filing (NEF)
                                                        Other ______________________
                                                         (as authorized by the court *)

                                                        Hand-delivered
                                                        Regular mail
                                                        Certified mail/RR
                                                        E-mail
                                                        Notice of Electronic Filing (NEF)
                                                        Other ______________________
                                                         (as authorized by the court *)

                                                        Hand-delivered
                                                        Regular mail
                                                        Certified mail/RR
                                                        E-mail
                                                        Notice of Electronic Filing (NEF)
                                                        Other ______________________
                                                         (as authorized by the court *)




                                      3
Name and Address of Party Served                Relationship of                    Mode of Service
                                               Party to the Case
                                                                         Hand-delivered
                                                                         Regular mail
                                                                         Certified mail/RR
                                                                         E-mail
                                                                         Notice of Electronic Filing (NEF)
                                                                         Other ______________________
                                                                          (as authorized by the court *)

                                                                         Hand-delivered
                                                                         Regular mail
                                                                         Certified mail/RR
                                                                         E-mail
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                                                                          (as authorized by the court *)

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                                                                         E-mail
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                                                                         Other ______________________
                                                                          (as authorized by the court *)

                                                                         Hand-delivered
                                                                         Regular mail
                                                                         Certified mail/RR
                                                                         E-mail
                                                                         Notice of Electronic Filing (NEF)
                                                                         Other ______________________
                                                                          (as authorized by the court *)


* May account for service by fax or other means as authorized by the court through the issuance of an Order
Shortening Time.

                                                                                                        new.3/15/12


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